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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW MEXICO


 110 SUNPORT LLC, a New Mexico Limited
 Liability Company, individually and on behalf
 of all others similarly situated,

                                Plaintiff,

                                                             Case No.: 1:21-cv-00844
 v.

 HOLIDAY HOSPITALITY FRANCHISING,
 LLC and SIX CONTINENTS HOTELS, INC.
 d/b/a  INTERCONTINENTAL    HOTELS
 GROUP,

                                Defendants.

                                             COMPLAINT

       COMES NOW, Plaintiff 110 SUNPORT LLC, a New Mexico Limited Liability Company,

individually and on behalf of all others similarly situated, and brings this class action lawsuit

against Holiday Hospitality Franchising, LLC and Six Continents Hotels, Inc. d/b/a

Intercontinental Hotels Group alleging as follows upon personal knowledge as to itself and its own

acts and experience and as to all other matters upon information and belief, including investigation

conducted by its attorneys.

                                       INTRODUCTION

       1.      Defendant Six Continents Hotels, Inc. (“SCH”) is the world’s largest hotel

company by room count, and does business under the name InterContinental Hotels Group

(“IHG”) (SCH and IHG may hereinafter be collectively referred to as “IHG”).

       2.      IHG operates approximately some 5,600 hotels across more than 15 brands. IHG

takes an asset-light approach, owning, franchising and/or managing hotels for third parties, with

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Holiday Inn as its mainstay chain, under such brands as Holiday Inn, Holiday Inn Express and

Holiday Inn Resorts (collectively, the “Holiday Inn Brands”), each bearing the identification as

“an IHG Hotel.”

       3.       IHG also owns, manages and/or franchises other hotel brands such as Crowne

Plaza, InterContinental, Staybridge Suites, Candlewood Suites, Hotel Indigo, Regent and

Kimpton.

       4.       IHG’s Holiday Inn Brands account for approximately 70% of its total hotel count.

       5.       IHG owns Defendant Holiday Hospitality Franchising, LLC (“HHF”), its affiliate

which markets, offers and sells Holiday Inn Brand franchises including, but not limited to, Holiday

Inn, Holiday Inn Express and Holiday Inn Resort.

       6.       Defendant IHG owns and acts through its franchising affiliate, HHF and its agent

and representative IHG Owners Association, Inc. (“IHGOA”).

       7.       HHF enters into standardized franchise agreements (collectively, the “License

Agreements”) with its franchisees.

       8.       Plaintiff 110 SUNPORT LLC, a New Mexico Limited Liability Company, is a

franchisee that owns and operates a hotel located at 1921 Yale Boulevard SE in Albuquerque, New

Mexico 87106 (the “Hotel”), that bears an HHF brand mark pursuant to a License Agreement.

       9.       Many HHF franchisees are individuals, single member limited liability companies

or closely held corporations who are either immigrants or second-generation Americans of Indian

or other South Asian origin.

       10.      Plaintiff is one such HHF franchisee.

       11.      The hotel franchise industry holds particular appeal and attraction to these

franchisees by providing investment and traditional family business ownership opportunities

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which they can build through diligence, dedication and hard work.

       12.      This class action lawsuit seeks to put an end to IHG/HHF’s unlawful, abusive,

fraudulent, anticompetitive and unconscionable practices designed solely to benefit and to enrich

IHG/HHF’s shareholders and to do so at the expense and to the detriment of Plaintiff 110 Sunport,

LLC and similarly situated franchisees , namely, similarly situated HHF franchisees in the State

of New Mexico.

       13.      At the heart of IHG/HHF’s unlawful scheme is its requirement that its franchisees

use certain mandated vendors and suppliers for the purchase of virtually all goods and services

necessary to maintain and to operate a hotel.

       14.      IHG/HHF’s forced exclusive use of certain chosen vendors and suppliers imposes

well above-market procurement costs on its franchisees which include, but are not limited to, those

associated with its onerous and exorbitant Property Improvement Plan (“PIP”).

       15.      One such PIP is “Formula Blue,” which IHG launched in 2014 for the Holiday Inn

Express brand. The “Formula Blue” prototype renovation requires certain, among other things,

upgrades to the exterior of the hotels, as well as other minor site and structure updates.

       16.      Plaintiff recently completed a Formula Blue renovation for its Hotel in

Alburquerque.

       17.      Under the guise of improving the franchisees’ hotels to maintain “brand standards,”

IHG/HHF forces its franchisees to frequently undertake expensive renovations, remodeling and

construction as part of a PIP.

       18.      And, in so doing, IHG/HHF manipulates and shortens the warranty periods on

mandated products the franchisees must purchase, then disingenuously uses this to justify PIP

requirements as purportedly necessary to meet “brand standards” when, in reality, IHG/HHF’s

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sole purpose is to maximize its kickbacks and unjustifiably run up costs and fees on their

franchisees in bad faith.

       19.      IHG/HHF deceitfully represent to their franchisees that they select vendors with

the laudable goal of using the franchisees’ collective bargaining power to secure a group discount

and to ensure adequate quality and supply of products and services, and refer to these procurement

programs as the “IHG Marketplace.”

       20.      In fact, however, IHG/HHF’s primary goal in negotiating with vendors has little to

nothing to do with the best interests of its franchisees. Rather, IHG/HHF’s primary and overriding

interest is to secure the largest possible profit and kickback (or “rebates”) for itself, which the

chosen vendors finance through the above-market rates charged to HHF franchisees in collusion

with IHG/HHF.

       21.      Furthermore, the above-market priced products which IHG/HHF forces franchisees

to purchase through the IHG Marketplace (and related programs) is overwhelmingly of inferior

quality.

       22.      These low-quality “IHG Approved” purchases are forced upon franchisees and

disingenuously characterized as meeting supposed brand standards of quality, when in truth the

sole purpose is to maximize kickbacks for IHG/HHF and unjustifiably run up costs on their

franchisees in bad faith.

       23.      Upon information and good faith belief, IHG/HHF have each netted tens of millions

of ill-gotten dollars as a result of illicit vendor supply arrangements.

       24.      Additionally, IHG/HHF engages in other oppressive, bad-faith, fraudulent and

unconscionable conduct as more fully described herein. For instance, IHG holds itself out to the

public as offering discounts, travel benefits and other perks to repeat guests through its IHG

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Rewards Club loyalty program.

        25.      IHG has a mobile booking app as well as cloud-based hotel solutions which it

represents as driving demand for its hotel owners and which ostensibly allows hotel owners to

reach potential guests at a lower cost. Hotel guests can accumulate points per dollars spent which

can be redeemed at IHG hotels.

        26.      When those points are then redeemed at a hotel, however, only a small fraction of

the value is reimbursed to franchisees while IHG/HHF requires that Plaintiff and franchisees (and

not IHG/HHF) pay taxes on the full value of the product or service obtained by the redeeming

hotel guests.

        27.      Furthermore, in instances where hotel guests’ accumulated reward points from

stays at Plaintiff’s (or other franchisees’) hotel expire, the points never return to Plaintiff or to any

source-of-origin franchisees.

        28.      Whenever a guest calls IHG Guest Relations to complain about poor service,

regardless of who is at fault, the hotel is penalized without appropriate investigations and charged

case management fees of over $150, in addition to any other monetary reimbursements provided

to the guest. In an attempt to appease guests, IHG Guest Relations representatives unjustly assess

penalties to the hotels and rarely considers the franchisees’ perspective, depriving franchisees the

right to address and to remedy the situation with minimal loss.

        29.      IHG/HHF also frequently introduces new marketing programs under the guise of

providing franchisees with a “choice” as to whether they should participate or not.

        30.      In reality, however, all such marketing programs are forced upon the franchisees

insofar as any and all decisions to “opt out” are met with vindictive, punitive and retaliatory action

by IHG/HHF.

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       31.      These programs are in addition to all marketing fees contracted and paid for by the

franchisees further to the License Agreements, and serve as an additional revenue source by

imposing additional fees and fines for the sole profit and benefit of IHG/HHF, and to do so without

disclosure or agreement by deceit, implied threat and actual retribution rendering franchisees’

supposed “opt-out” choice completely illusory.

       32.      Furthermore, although the facts set forth herein predominantly existed before

March 2020 and continuously thereafter, IHG/HHF has ceased all of its marketing since the

imposition of Covid-19 related restrictions in early 2020 yet it has continued to collect marketing-

related fees from Plaintiff 110 Sunport, LLC and similarly situated franchisees.

       33.      That is, despite the fact that IHG/HHF has not been engaged in any marketing

activities or efforts for approximately a year, it continues to require Plaintiff 110 Sunport, LLC

and similarly situated franchisees to pay significant marketing related fees for which they receive

nothing in return.

       34.      Moreover, IHG/HHF routinely assesses additional fees and penalties against

franchisees which are not authorized by the applicable License Agreement and are fundamentally

excessive and unfair. These fees and penalties are disingenuously assessed as a means to

intimidate franchisees, including to serve as bad faith bases for default notices and threatened

termination, as well as to harm the economic viability, profitability and creditworthiness of the

targeted franchisees.

       35.      For instance, IHG/HHF routinely requires its franchisees to pay multiple fees for

the same product or service. And, IHG/HHF routinely assesses additional fees against franchisees

for services and products that IHG/HHF either does not, in fact, provide or provides at an inferior

quality.

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       36.      IHG/HHF imposes requirements on its franchisees to undergo hotel inspections any

time there are conversions, construction, changes in ownership, brand changes or re-licensing. In

conjunction with IHG/HHF’s unilaterally imposed mandates for any such hotel changes,

IHG/HHF requires its franchisees to pay for the inspections, IHG/HHF’s written reports and any

re-evaluations and re-inspections that IHG/HHF alone deems necessary.

       37.      In practice, IHG/HHF stages these inspections to maximize criticism of franchisee

hotels as a pretext for imposing additional inspections, reports and fines, all deliberately interposed

for IHG/HHF’s own financial benefit and to the detriment of franchisees.

       38.      IHG/HHF arbitrarily imposes rules and regulations and/or unreasonably interprets

rules and regulations in order to justify assessing monetary penalties against franchisees.

       39.      Quite egregiously, IHG/HHF routinely discriminates, demeans and is both

explicitly and implicitly hostile and bigoted towards Plaintiff and towards other Indian-American

and South Asian-American franchisees.

       40.      IHG/HHF corrupts its Owners Association, the IHGOA, the function of which

IHG/HHF represents in the License Agreement is “to function in a manner consistent with the best

interests of all persons using the System” but instead is staffed almost exclusively with IHG/HHF

representatives to the exclusion of franchisees and operates to undermine and to harm the very

hotel owners and franchisees it purports to represent.

       41.      HHF’s actions are unconscionable and outrageous, and have pushed franchisees to

the financial breaking point.

       42.      This class action lawsuit, brought by Plaintiff on behalf of itself and all similarly

situated IHG/HHF franchisees in the State of New Mexico, seeks, monetary damages and other

relief for breach of contract (COUNT I); violations of the New Mexico Unfair Practices Act,

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NMSA1978, §§ 57-12-1, et seq. (COUNT II); violations of the Sherman Act, 15 U.S.C. § 1 and

the New Mexico Antitrust Act, NMSA 1978, §§ 57-1-1 et seq. (COUNT IV), and also seeks

declaratory judgment and injunctive relief (COUNT III) and an accounting (COUNT V).

                                 JURISDICTION AND VENUE

       43.      This Court has subject matter jurisdiction over the federal law claims asserted in

this class action lawsuit pursuant to pursuant to 28 U.S.C. § 1331 as Plaintiff alleges violations of

a federal statute, the Sherman Act, 15 U.S.C. § 1.

       44.      This Court has original subject matter jurisdiction over this civil action pursuant to

28 U.S.C. § 1332 as the parties are from different states and the amount in controversy exceeds

the sum of $75,000.00.

       45.      This Court has subject matter jurisdiction over this action pursuant to the Class

Action Fairness Act of 2005, Pub. L. No. 109-2 Stat. 4 (“CAFA”), which, inter alia, amends 28

U.S.C. § 1332, at new subsection (d), conferring federal jurisdiction over class actions where, as

here: (a) there are 100 or more members in the proposed class; (b) some members of the proposed

Class have a different citizenship from Defendants and (c) the claims of the proposed class

members exceed the sum or value of five million dollars ($5,000,000) in aggregate. See 28 U.S.C.

§ 1332(d)(2) & (6).

       46.      Plaintiff 110 SUNPORT LLC, a New Mexico Limited Liability Company, is a

franchisee that owns and operates a hotel, located at 1921 Yale Boulevard SE in Albuquerque,

New Mexico 87106 (the “Hotel”), that bears a HHF brand mark pursuant to a License Agreement.

       47.       Defendant HHF is a Delaware-registered limited liability company with its

principal place of business located at Three Ravinia Drive, Suite 100 in Atlanta, Georgia 30346.

       48.       Defendant IHG is a Delaware-registered corporation with its principal place of
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business located at Three Ravinia Drive, Suite 100 in Atlanta, Georgia 30346.

        49.      This Court has subject matter jurisdiction over the state law claims asserted in this

action pursuant to 28 U.S.C. § 1367 because they arise from the same set of operative facts as the

federal law claims.

        50.      This Court has personal jurisdiction over Defendants IHG and HHF because they

regularly transact business within the geographic boundaries of this District by, inter alia, entering

into franchising agreements with franchisees and engaging in routine, systematic and continuous

contacts with franchisees in this District.

        51.       Venue is proper in this judicial district pursuant to 18 U.S.C. §§ 1965(a) and (b)

because Defendants HHF and IHG regularly transact business within the geographic boundaries

of this District by, inter alia, entering into franchising agreements with franchisees, collecting

membership fees from franchisees and otherwise conducting and transacting business with

franchisees. The business conducted by Plaintiff is pursuant to a certain license agreement with

HHF, and Plaintiff’s business location is in Alburquerque, New Mexico. In short, the ends of

justice require Defendants to be summoned to this District.

                             COMMON FACTUAL ALLEGATIONS

        52.      Plaintiff 110 Sunport, LLC hereby incorporates Paragraphs 1-51 of its Complaint

as if stated fully herein.

A.      The Parties’ Relationship

        52.       IHG has been in operation since 2003.

        53.       Throughout its history, IHG has created and acquired hotel brands, including, but

not limited to, Holiday Inn, Holiday Inn Express and Holiday Inn Resort.

        54.       IHG’s franchising affiliate, HHF, licenses the right to use these hotel brand marks

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to franchisees, including Plaintiff, by entering into franchise agreements with them, which in many

cases are referred to as “License Agreements.”

         55.    IHG owns HHF and has developed relationships with various vendors and

suppliers to IHG/HHF franchisees.

         56.    By virtue of its ownership of HHF and control over the IHG Marketplace, IHG is

an intended third-party beneficiary of the License Agreements.

         57.    In connection with the License Agreements, HHF uses its superior bargaining

power to coerce the franchisees into accepting onerous, unequal and unconscionable terms in its

License Agreements.

         58.    These onerous terms put immense financial stress and strain on franchisees,

threatening their economic viability.

         59.    HHF’S abuse of its position and unfair practices result in the imposition of

needless and costly fees, above-market costs for necessary supplies and other goods and results in

substantial impacts on franchisees’ ability—who manage and operate their properties

commensurate with the highest standards—to operate their properties profitably.

         60.    Plaintiff 110 SUNPORT LLC is an HHF Franchisee that entered into a franchise

agreement with HHF dated March 8, 2019 entitled “Holiday Hospitality Franchising, LLC,

Holiday Inn Express & Suites Hotel, Relicensing License Agreement with 110 Sunport, L.L.C.

Licensee” (the “License Agreement,” a copy of which is attached hereto as Exhibit A) for a

Holiday Inn Express & Suites Hotel to be renovated and operated by Plaintiff and located at 1921

Yale Boulevard SE in Albuquerque, New Mexico 87106. (See License Agreement, §§ 1(A),

15(A).

         61.    Pursuant to this License Agreement, Defendant HHF granted Plaintiff 110

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Sunport, LLC, a non-exclusive license to use Defendant’s System (as defined therein) only at the

Hotel and in accordance with the License Agreement. (See id., §§1(B), 2.)

B.     Vendor Mandates and Kickbacks – the IHG Marketplace Programs

       62.       A particular manner by which IHG/HHF undermines the viability and profitability

of its franchisees is by mandating Plaintiff 110 Sunport, LLC and similarly situated franchisees

utilize only HHF approved third-party vendors, the purpose of which is for Defendants to reap a

significant financial benefit at the direct expense and to the financial detriment of the franchisees.

       63.     The rates for goods and services through the closed vendor system which

franchisees of IGH/HHF are required to use are higher than market rates for the same goods and/or

services and, as a result of use by its franchisees, IHG/HHF recieves financial kickbacks from the

vendors in its closed system.

       64.     IHG/HHF’s fraudulent and unconscionable scheme cannot operate without

franchisees paying excessive, above-market rates for the goods and services necessary to run a

hotel, including, but not limited to:

                 a) its computerized credit card processing system, Secure
                    Payment Solution (“SPS”) which all Hotels are required to
                    use;

                 b) high speed guest internet services, designated workstations
                    and multi-function printers in Hotel business centers (“Public
                    Access Computers”), and a designated communication
                    service referred to as “SCH Merlin”;

                 c) HHF’s approved Keycard System;

                 d) televisions and in-room entertainment compatible with SCH
                    Studio;

                 e) an alert system that enables employees to notify hotel
                    management of an emergency (“Employee Safety Devices”);

                 f) equipment, software, and services for property-level
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                    technology and telecommunications systems;

                g) equipment associated with the Defendants’ gift card
                   program;

                h) mandated food and beverage programs;

                i) furniture, furnishing, linens, food products, utensils, and
                   goods for guests’ consumption and

                j) additional advertising materials, products, services,
                   equipment or supplies, from which IHG/HHF profits.

       65.     The above-market rate pricing charged by vendors and paid by Plaintiff 110

Sunport, LLC and similarly situated franchisees provides the money necessary for those vendors

to pay IHG/HHF’s unreasonable and unconscionable kickbacks.

       66.     IHG/HHF knowingly and willfully engage in conduct that ensures Plaintiff 110

Sunport, LLC and similarly situated franchisees pay above-market prices for goods and services

necessary in conjunction with operation of the hotels.

       67.      IHG/HHF requires that Plaintiff 110 Sunport, LLC and similarly situated

franchisees strictly comply with its requirements for the types of services and products that may

be used, promoted or offered at the hotel, and comply with all of HHF’s “standards and

specifications for goods and services used in the operation of the Hotel and other reasonable

requirements to protect the System and the hotel from unreliable sources of supply.” (See

generally License Agreement.)

       68.      If IHG/HHF requires Plaintiff 110 Sunport, LLC and similarly situated

franchisees to purchase equipment, furnishings, supplies or other products for the hotels from a

designated or approved supplier or service provider, whether pursuant to the License Agreement,

Standards or any communication from HHF, then they must purchase the mandated product(s)

from mandated vendors and cannot deviate from those vendor mandates without prior approval
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from IHG/HHF.

         69.       Defendants IHG and HHF run the closed vendor program under the guise of being

voluntary and which they falsely represent as delivering value and lower cost purchasing

opportunities to HHF franchisees, including Plaintiff 110 Sunport, LLC and similarly situated

franchisees. Nothing could be further from the truth.

         70.       Defendants refer to these procurement programs as the “IHG Marketplace.”

Defendant IHG describes the IHG Marketplace as:

                  an easy-to-use ordering platform that allows owners to take
                  advantage of the buying power of IHG for operational and service
                  needs. This not-for-profit platform is available to all IHG-branded
                  hotels and gives access to globally negotiated contracts and optimal
                  pricing from more than 200 suppliers and services, resulting in
                  significant savings and value. 1

         71.       Defendant IHG further represents that the IHG Marketplace is “[d]esigned to cut

costs and streamline the hotel procurement process, the program provides owners with solutions

to achieve unparalleled cost savings and efficiency…Rebates and discounts are passed directly to

you, you earned them, you keep them!” 2

         72.       In reality, however, the IHG Marketplace operates on a cost recovery basis with

fees for both procurement and technical ordering transaction services included in the supplier

invoiced price.

         73.       HHF franchisees, including Plaintiff 110 Sunport, LLC and similarly situated

franchisees, purchase goods and services directly from suppliers and vendors at prices negotiated



1
  https://development.ihg.com/en/americas/home/develop-a-hotel/support-for-owners (last visited July 13,
2021).

2
    https://www.ihgmarketplace.net/marketplace/home.php (last visited July 13, 2021).

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by HHF and/or IHG. HHF franchisees, including Plaintiff, are excluded from negotiations of prices

for goods and services which they must purchase through the the IGH Marketplace.

       74.      These prices are frequently above-market prices which do not permit the HHF

franchisees, including Plaintiff 110 Sunport, LLC and similarly situated franchisees, to seek

competitive pricing for their own benefit.

       75.      These inflated prices allow for rebates that go to IHG and HHF directly by

suppliers which generally range from approximately 1-5% of the amount of the invoice price for

the goods and services purchased by franchisees, including Plaintiff 110 Sunport, LLC and

similarly situated franchisees.

       76.      These kickbacks to IHG and HHF are the primary—if not the sole—reason HHF

franchisees, including Plaintiff 110 Sunport, LLC and similarly situated franchisees, are forced to

use expensive vendors and suppliers not of their own choosing at supra-competitive pricing.

       77.      Some primary examples of the IHG Marketplace sourced vendor mandates

involve credit card processing and high speed internet agreements, with IHG and HHF requiring

franchisees, including Plaintiff 110 Sunport, LLC and similarly situated franchisees, to execute

and bear the cost of these infrastructure related agreements.

       78.      Although IHG/HHF represent that franchisees, including Plaintiff 110 Sunport,

LLC and similarly situated franchisees, have a choice between vendors, it is usually only between

no more than two or three vendors hand-picked by Defendants from whom they obtain significant

rebates.

       79.      Although franchisees, including Plaintiff 110 Sunport, LLC and similarly situated

franchisees, are able to secure far more reasonable rates for, for example, credit card processing

from alternate sources, IHG/HHF do not permit franchisees, including Plaintiff 110 Sunport, LLC

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and similarly situated franchisees , to do so on the open market and instead require franchisees,

including Plaintiff 110 Sunport, LLC and similarly situated franchisees, to pay the higher rates of

Defendants’ selected vendors.

       80.      This is similarly true in the case of hotel internet services which IHG/HHF does

not permit franchisees, including Plaintiff 110 Sunport, LLC and similarly situated franchisees, to

purchase on the open market and instead requires franchisees, in most instances, to pay more than

double the price for lower speeds than what franchisees could purchase independently from the

same or alternate sources.

       81.      Under onerous mandates, Defendants require franchisees, including Plaintiff 110

Sunport, LLC and similarly situated franchisees, to enroll in various services, including, but not

limited to, grossly overpriced internet bandwidth services and marketing programs, such as IHG

Ignite, without obtaining their consent and under the guise of brand standard requirements.

       82.      For a supposed voluntary program, opting out of the IHG Ignite program is met

with threats of property listing suppression and other negative online search consequences despite

franchisees, including Plaintiff 110 Sunport, LLC and similarly situated franchisees, contributing

tens of thousands of dollars annually for marketing expenditures per hotel.

       83.      This mandated lack of choice invariably increases franchisees’ costs and

expenses; yet, benefits only IHG/HHF in the form of financial kickbacks.

       84.      The costs charged to franchisees, including Plaintiff 110 Sunport, LLC and

similarly situated franchisees, in the IHG/HHF procurement programs such as the IHG

Marketplace are almost always higher than if the same product or service were purchased by an

independent hotel outside of the HHF System.

       85.      Defendants frequently use the pretext that the vendor requirements imposed on

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franchisees are necessary for standardization or—more curiously—for security.

          86.    In fact, many products and services that HHF franchisees, including Plaintiff 110

Sunport, LLC and similarly situated franchisees, are required to obtain based on Defendants’

vendor mandates are of inferior quality despite the excessive cost.

C.        Franchisee Fees & Property Improvement Plans

          87.    As a prerequisite to becoming an HHF Franchisee, IHG/HHF charges (and

Plaintiff 110 Sunport, LLC and similarly situated franchisees actually paid) an initial application

fee of $500 per guest room (sometimes referred to as a “key”) and up to $50,000 simply for the

privilege of submitting an application for an HHF franchise or license. This application fee applies

for new development, conversion, change of ownership or re-licensing.

          88.    Only then does IHG/HHF determine whether it will approve the application for a

license, and in the case of unapproved applications, IHG/HHF retains $15,000 which is forfeited

by franchise/license applicants for absolutely no return benefit.

          89.    If IHG/HHF does approve an application, it still has the sole discretion to revoke

its approval thereafter and to retain an applicant’s entire application fee and to deem it “non-

refundable,” again providing applicants with no benefit in return for IHG/HHF taking an amount

up to $50,000 and leaving applicants without recourse.

          90.    IHG/HHF also maintains what it calls its “Property Improvement Plan” (the

“PIP”).

          91.    Before any HHF franchisee submits an application for conversion, change of

ownership, brand change or re-licensing, franchisees, including Plaintiff, must arrange for HHF to

conduct an inspection of the subject hotel so that IHG/HHF can prepare written specifications for

the upgrading, construction and furnishing of the hotel in accordance with HHF’s “Standards.”

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       92.      Under the PIP, HHF franchisees must pay a non-refundable $6,500 fee to have

their Hotel inspected and for preparation of a PIP report.

       93.      In the case of conversion hotels, IHG/HHF will not authorize reopening unless

and until it has determined that all PIP requirements have been completed, including the

submission of plans before the start of construction in accordance with the dates specified in the

License Agreement.

       94.      As part of PIP, IHG/HHF charges up to an additional $5,000 for each re-

evaluation and re-inspection it may deem necessary in the event any hotel fails its opening

inspection. IHG/HHF frequently uses this, and imposes further fines, as a means to enrich

themselves to the detriment of the franchisees.

       95.      IHG/HHF neither requires nor imposes its inspections, re-inspections, re-

evaluations and/or written reports in good faith. To the contrary, IHG/HHF uses these inspections

as a pretext to generate the aforesaid fees and fines, and prepares disingenuously negative reports

in order to generate revenue for itself in the form of fines and unwarranted re-inspections, reports

and impact studies, all intended to harm the economic viability and creditworthiness of its

franchisees.

       96.     IHG/HHF suggests to its quality inspectors to fail franchisees in quality evaluations

if those franchisees’ Medallia scores, customer and employee experience scores generated from

surveys, social media and review websites, are below expectations, although Medallia scores are

not to be taken into account in quality evaluations.

       97.      Any objections by an IHG/HHF franchisee to this process are disregarded and

dismissed, and met with derision, threats, intimidation and retaliation.

       98.      The license that IHG/HHF grants to Plaintiff 110 Sunport, LLC and similarly

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situated franchisees to “use the System only at the Hotel, but only in accordance with this License”

(and during the License Term) defines the System broadly and with significant open-ended

discretion for HHF.

       99.      This discretion allows IHG/HHF to put a stranglehold on franchisees and to

impose onerous costs and obligations on franchisees:

               The System is composed of all elements which are designed to
               identify Holiday Inn, Holiday Inn Express and Holiday Inn Resort
               branded hotels to the consuming public or are designed to be
               associated with those hotels or to contribute to such identification
               or association and all elements which identify or reflect the
               quality standards and business practices of such hotels, all as
               specified in this License or as designated from time to time by
               Licensor. The System at present includes, but is not limited to,
               the service marks Holiday Inn®, Holiday Inn Express®, Holiday
               Inn Express® & Suites, Holiday Inn® & Suites and Holiday
               Inn® Resort, (as appropriate to the specific hotel operation to
               which it pertains), Holidex® and the other Marks (as defined in
               paragraph 7.B below), and intellectual property rights made
               available to licensees of the System by reason of a license;
               all rights to domain names and other identifications or
               elements used in electronic commerce as may be designated
               from time to time by Licensor in accordance with Licensor's
               specifications to be part of the System; access to a reservation
               service operated in accordance with specifications established by
               Licensor from time to time; distribution of advertising, publicity
               and other marketing programs and materials; architectural
               drawings and architectural works; the furnishing of training
               programs and materials; confidential or proprietary information
               standards, specifications and policies for construction, furnishing,
               operation, appearance and service of the Hotel, and other
               requirements as stated or referred to in this License and from time
               to time in Licensor's brand standards for System hotels (the
               "Standards") or in other communications to Licensee; and
               programs for inspecting the Hotel, measuring and assessing
               service, quality and consumer opinion and consulting with
               Licensee. Licensor may add elements to the System or modify,
               alter or delete elements of the System in its sole judgment from
               time to time.

License Agreement, §1(B) (emphasis added).

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       100.     There is no limitation on the extent to which HHF can alter, modify or revise its

“Standards” or impose costs and obligations on frachisees, including Plaintiff 110 Sunport, LLC

and similarly situated franchisees, which it does not disclose and have never been the subject of

any arms’ length agreement. (See id., §§1(B), 4(E), 5.)

       101.     The IHG/HHF PIPs are designed with substandard products and designs,

purposefully limit vendor choices for franchisees, inclunding Plaintiff 110 Sunport, LLC and

similarly situated franchisees, and impose above-market procurement costs.

       102.     For example, most furniture items that IHG/HHF require its franchisees, including

Plaintiff 110 Sunport, LLC and similarly situated franchisees, to purchase from required vendors

are of such inferior quality that they break, disassemble and/or damage upon initial delivery and/or

assembly and are rendered unusable or they have a limited use life and generally are substandard.

       103.     IHG/HHF then forces additional costs upon its franchisees, including Plaintiff 110

Sunport, LLC and similarly situated franchisees, to replace the mandated but damaged products,

not to mention imposes additional costs to clean the resultant broken parts strewn and littered in

the franchisees’ hotels.

       104.     Although the IHG Owners Association purports to “consider and discuss, and

make recommendations relating to the operation” of franchisees’ hotels, and “function in a manner

consistent with the best interests of all persons using the System,” IHG/HHF and the IHGOA

routinely dismiss and disregard franchisee concerns about its inferior mandated products and

exorbitant costs. (See Franchise Agreement, §6(A)-(B).)

       105.     IHG/HHF forces its franchisees, including Plaintiff 110 Sunport, LLC and

similarly situated franchisees, to repeat these PIP multimillion dollar projects every 6-8 years

irrespective of the actual condition of hotels purely to generate additional fees and vendor

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kickbacks for themselves to the detriment of its franchisees, including Plaintiff 110 Sunport, LLC

and similarly situated franchisees.

       106.     As part of PIP, IHG/HHF deliberately scales back and manipulates standard

manufacturer furniture warranties as another means purely to fit their PIP cycles, cause harm to

the franchisees and, ultimately, raise prices for hotel customers.

       107.     As such, IHG/HHF has imposed and continues to impose onerous PIP terms on

franchisees, including Plaintiff 110 Sunport, LLC and similarly situated franchisees, which, in the

sole discretion of IHG/HHF, forces franchisees, including Plaintiff 110 Sunport, LLC and

similarly situated franchisees, to spend approximately $10,000 – $30,000 per guest room, which

amounts to millions of dollars in forced renovation costs being foisted upon franchisees, including

Plaintiff 110 Sunport, LLC and similarly situated franchisees.

       108.     HHF further does so under the constant threat of retaliation against its franchisees,

including Plaintiff 110 Sunport, LLC and similarly situated franchisees, in the event of

noncompliance as determined subjectively by HHF in its sole discretion, which can result in

termination of their franchise or other punitive measures.

       109.     IHG/HHF routinely assesses multiple fees against franchisees for the provision of

various technology services. Initially, franchisees were assessed a monthly $500 per property

technology fee, which was later increased to $14.50 per room fee. Then, when much needed

technology upgrades were actually performed, the hotels were then assessed an additional fee

based on the number of work stations a particular property had, which could amount to an

additional $25,000 to $35,000.




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D.     IHG/HHF’s Double-Dipping on Commissions & Introduction of Supposedly
       Voluntary Programs under Pressure & Retaliation for Opt-Outs

       110.     HHF franchisees, including Plaintiff 110 Sunport, LLC and similarly situated

franchisees, pay initial marketing contributions and annual marketing fees which are represented

as being applied to such things as marketing.

       111.     Not content with those fees, however, IHG/HHF frequently introduces “new

programs” requiring franchisees, including Plaintiff 110 Sunport, LLC and similarly situated

franchisees, to pay additional fees, all of which go directly to said Defendants.

       112.     The fees set forth in the License Agreement are based on a fixed percentage of

IHG/HHF franchisees’ revenue. (See License Agreement, §3(B).)

       113.     The License Agreement, however, also purports to give IHG/HHF the unfettered,

unilateral and unspecified ability to impose additional fees, penalties, rules and regulations,

namely “all fees due for travel agent commission programs . . . .” (See id. §3(B)(1)(d).)

       114.     One such program for booking and commissions is known as the Global

Distribution System (“GDS”), which is a worldwide conduit between travel bookers and suppliers,

such as hotels and other accommodation providers.

       115.     GDS communicates live product, price and availability data to travel agents and

online booking engines and allows for automated transactions.

       116.     The concept of GDS is for hotels to increase their reach to attract more customers,

to increase revenue and ultimately to generate additional profits.

       117.     A GDS passes on hotel inventory and rates to travel agents and travel sites that

request it and also accepts reservations.

       118.     Today, the databases also include online travel agencies (“OTA”s) (such as

Booking.com and Expedia).
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       119.     IHG/HHF arbitrarily exercises this purported right to impose fees including, but

not limited to, travel agent commission fees, in bad faith.

       120.     IHG/HHF does so in order to capture a continually increasing share the revenue

of its franchisees, including those revenues of Plaintiff 110 Sunport, LLC and similarly situated

franchisees.

       121.     Franchisees, including Plaintiff 110 Sunport, LLC and similarly situated

franchisees, are charged multiple additional fees such as transaction fees, booking fees, GDS fees

and excess and additional commissions through marketing and other programs.

       122.     One example is IHG/HHF’s imposition of the BTI (Business Traveler

International) program, under which IHG/HHF double-dips on its commissions by imposing an

additional 2.5% commission on franchisees, including Plaintiff 110 Sunport, LLC and similarly

situated franchisees, over and above the aforesaid traditional GDS bookings and commissions.

       123.     Another example is IHG/HHF’s “double-dip” on commissions for the aforesaid

third-party OTA bookings, from which IHG/HHF, upon information and belief, receive kickbacks

in sums unknown to franchisees, including Plaintiff 110 Sunport, LLC and similarly situated

franchisees, since IHG/HHF keep their contractual arrangements confidential while charging the

franchisees multiple fees for the same products or services that IHG/HHF is already contractually

obligated to perform.

       124.     IHG/HHF have also allowed OTAs to share and misappropriate discounted

booking codes with third party websites who impose substantial taxes, fees and costs on

unsuspecting customers and, despite knowing that such misconduct is ongoing, IHG/HHF have

failed to enjoin such misconduct on the part of OTAs to IHG/HHF’s benefit and the substantial

detriment of franchisees, including Plaintiff 110 Sunport, LLC and similarly situated franchisees.

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       125.     IHG/HHF also sends sales leads to franchisees, including Plaintiff 110 Sunport,

LLC and similarly situated franchisees, though the origin of which is unknown to the franchisees,

through its Meeting Broker program.

       126.     These leads require franchisees, including Plaintiff 110 Sunport, LLC and

similarly situated franchisees, to pay 3% commissions to IHG/HHF if they actualize and

franchisees, including Plaintiff 110 Sunport, LLC and similarly situated franchisees, are billed

based on revenue speculated by IHG/HHF unless franchisees, including Plaintiff 110 Sunport,

LLC and similarly situated franchisees, report updated actual numbers.

       127.     Franchisees, including Plaintiff 110 Sunport, LLC and similarly situated

franchisees, will frequently turn away these leads due to the fact that they have previously built

their own relationships prior to the duplicate lead coming from Meeting Broker.

       128.     For instance, if a particular franchisee has, through its own efforts, obtained

dedicated bookings from a local business, IHG/HHF still requires that franchisee to input those

bookings into Meeting Broker and thereby imposes a 3% commission despite having done nothing

to procure that business.

       129.     In short, IHG/HHF uses this tactic to charge additional commissions and to require

that franchisees, including Plaintiff 110 Sunport, LLC and similarly situated franchisees, prove the

prior relationship thereby stealing sales leads and revenues developed by franchisees, including

Plaintiff 110 Sunport, LLC and similarly situated franchisees.

       130.     IHG/HHF further abuses its discretion by requiring franchisees, including

Plaintiff 110 Sunport, LLC and similarly situated franchisees, to provide bank account information

to the OTAs that IHG/HHF contracts with.

       131.     These OTAs will then automatically debit franchisees, including Plaintiff 110

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Sunport, LLC and similarly situated franchisees, accounts on a monthly basis for all reservations

sent to a particular hotel.

           132.    The onus thus falls on the franchisees, including Plaintiff 110 Sunport, LLC and

similarly situated franchisees, to reconcile and to dispute commission charges for no-shows,

cancellations or invalid credit cards, without any support from IHG/HHF.

           133.   The result is that funds are taken from the franchisees, including Plaintiff 110

Sunport, LLC and similarly situated franchisees, without recourse, the OTAs collect unearned

commissions, IHG/HHF receive kickbacks leaving franchisees, including Plaintiff 110 Sunport,

LLC and similarly situated franchisees, damaged without recourse nor any franchisor support.

           134.   IHG/HHF further abuses its position by introducing marketing programs and other

programs solely to its General Manager and Director of Sales, bypassing the franchisees, including

Plaintiff 110 Sunport, LLC and similarly situated franchisees, entirely.

           135.   These programs are represented as voluntary and consensual programs which the

franchisees can, in theory, choose whether to participate or not.

           136.   However, Plaintiff 110 Sunport, LLC and similarly situated franchisees do not

have any direct access to the program information and can only gain access through IHG/HHF’s

General Manager or Sales Director, depriving Plaintiff 110 Sunport, LLC and similarly situated

franchisees of any real choice or opt-out alternative.

           137.   Additionally, such programs purportedly offered by IHG/HHF to franchisees,

including Plaintiff 110 Sunport, LLC and similarly situated franchisees , as optional truly are not

optional: IHG/HHF accompanies the presented “option” with threats of retaliation including, but

not limited to, being told that franchisees’ hotels will be suppressed or removed from search engine

results.

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       138.      Faced with threats of retaliatory action from Defendants that further undermine

the franchisees, including Plaintiff 110 Sunport, LLC and similarly situated franchisees,

profitability and/or economic viability, the representation that franchisees, including Plaintiff 110

Sunport, LLC and similarly situated franchisees, have any true choice is truly illusory.

       139.      In short and in sum, IHG/HHF introduces new or “additional” programs solely as

a basis to create additional revenue streams and profit to the detriment and cost of Plaintiff 110

Sunport, LLC and similarly situated franchisees.

E.     IHG Rewards Program; Points Plus Cash

       140.    Defendants introduced, maintain and run an IHG Rewards Club Program by which

hotel guests can earn points by staying at hotels within IHG’s network, as well as by purchasing

goods and services with IHG partner vendors, including Groupon, Grubhub and OpenTable,

provided these services are purchased through an SCH channel.

       141.    Points can also be earned for activities booked on the SCH Trip Extras page. For

IHG Rewards Club Premier Credit Card holders or IHG Rewards Club Traveler Credit Card

holders, additional points can be earned at IHG/HHF properties worldwide and on purchases made.

       142.      Defendants’ actual management of this program, however, is yet another bad faith

means by which IHG and HHF profit off the backs of and to the detriment of their franchisees.

       143.      Participating members earn 10 reward points for every $1 spent. When those

points are earned from staying in the hotel of Plaintiff 110 Sunport, LLC and similarly situated

franchisees that hotel serves as the point of origination for the points.

       144.      In effect, when a customer redeems points to earn free hotel night(s), Plaintiff 110

Sunport, LLC and similarly situated franchisees does not receive payment (or, if they do, it is for

a vastly insignificant amount and only when the overall occupancy of the hotel is below a specified

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percentage).

       145.      Specifically, if a franchisee hotel is at 96% occupancy, IHG/HHF reimburses the

participating franchisee hotel for the average daily room for that particular night (which is less

than the full room rate).

       146.      However, if a franchisee hotel is at less than 96% occupancy, IHG/HHF only

reimburses the participating franchisee hotels $30 for the value of products or services that

redeemed points were applied to, retaining the remainder for themselves and leaving IHG/HHF

franchisees, including Plaintiff 110 Sunport, LLC and similarly situated franchisees, to earn only

a small fraction of such nightly room rates to their economic detriment.

       147.      IHG/HHF also has a Points Plus Cash Program which it has never disclosed in its

Franchise Disclosure Document (“FDD”) or License Agreement.

       148.      The Points Plus Cash Program operates such that if participating hotel guests do

not have enough points to fully redeem a full night’s stay at a hotel or they do not desire to pay

local sales tax, they have the option to combine rewards points with cash.

       149.      In this instance, the nightly hotel rate is lowered and all cash paid by the customer

is retained by IHG/HHF and none goes to the HHF franchisee hotel.

       150.      This practice violates the License Agreement which provides that direct revenue

from hotel guests goes to the HHF franchisee while IHG/HHF should only be entitled to collect

fees from franchisees as provided therein.

       151.      There is no transparency by IHG/HHF regarding the IHG Rewards Club Hotel

Rewards Program as franchisees have no access to financial information and data regarding all

awards, redemptions or amounts reimbursed to any franchisee or collected, retained or funneled

by or to IHG and/or HHF in conjunction with the IHG Rewards Club Hotel Rewards Program.

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F.     HHF’s Fraudulent Representations Regarding the Nature of its Relationship with
       Approved Suppliers

       152.     Under the License Agreement, HHF requires that franchisees, including Plaintiff

110 Sunport, LLC and similarly situated franchisees, purchase some or all of the products and

services necessary (the “Mandatory Products and Services”) to operate a hotel from vendors and

suppliers of its own choosing (the “Approved Suppliers”).

       153.     HHF represents to franchisees, including Plaintiff 110 Sunport, LLC and similarly

situated franchisees, that it will limit the number of Approved Suppliers for given products and

services for the purposes of obtaining a group or volume discount and ensuring uniform quality

and supply of those Mandatory Products and Services.

       154.     However, upon information and belief, limiting the number of Approved

Suppliers has very little to do with obtaining greater discounts or improving brand quality.

       155.     Rather, upon information and belief, HHF limits the number of Approved

Suppliers as part of a scheme to reduce competition within the HHF Franchise System, which in

turn, allows HHF to extract larger kickbacks from vendors.

       156.     HHF does not disclose to franchisees, including Plaintiff 110 Sunport, LLC and

similarly situated franchisees, when it receives a kickback (or “rebate”) or the amount of any such

“rebate.”

       157.     The intended purpose and effect of HHF’s kickback scheme is that Approved

Suppliers charge above-market rates for their goods and services.

       158.     HHF does not help franchisees, including Plaintiff 110 Sunport, LLC and

similarly situated franchisees, save time and money on their purchasing needs.

       159.     Upon information and belief, HHF does not obtain group or volume discounts on

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behalf of its franchisees, including Plaintiff 110 Sunport, LLC and similarly situated franchisees.

          160.   Moreover, HHF does not ensure adequate brand quality and supply; rather, HHF

at times forces franchisees, including Plaintiff 110 Sunport, LLC and similarly situated

franchisees, to purchase, often at inflated prices, inferior Mandatory Products and Services.

          161.   HHF is not attempting to promote brand quality, but is constantly auctioning off

the right to sell Mandatory Products and Services to franchisees, including Plaintiff 110 Sunport,

LLC and similarly situated franchisees, to the highest bidding vendors.

          162.   HHF is leveraging its Franchise System to secure massive “rebates”—or financial

kickbacks—from vendors.

          163.   Upon information and belief, to be approved as an Approved Supplier and to gain

access to franchisees, including Plaintiff 110 Sunport, LLC and similarly situated franchisees,

HHF requires a quid pro quo in the form of such financial kickbacks.

          164.   The kickbacks include both fixed fees paid by Approved Suppliers to HHF and

transactional fees based on a percentage of Approved Suppliers’ total sales to franchisees and their

guests.

          165.   The transactional fees are inextricably tied to the cost of the goods and services,

meaning that as HHF’s revenue from transactional fees increases as the cost of goods and services

increases.

          166.   HHF, therefore, has an inherent conflict of interest that it never discloses to

franchisees.

          167.   Upon information and belief, HHF’s conflict of interest has led to abuse.

          168.   Upon information and belief, HHF has placed its interests and financial gain, as


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well as the interests of Approved Suppliers over those of its franchisees, including Plaintiff 110

Sunport, LLC and similarly situated franchisees.

        169.     Upon information and belief, HHF has conspired with manufacturers and

distributors to increase cost of goods and services that are sold to its franchisees, including Plaintiff

110 Sunport, LLC and similarly situated franchisees.

        170.     Upon information and belief, HHF colludes with manufacturers and/or

distributors to increase the wholesale price of products, which in turn, increases the retail prices

Approved Suppliers must sell to franchisees, including Plaintiff 110 Sunport, LLC and similarly

situated franchisees.

        171.     Upon information and belief, HHF effectively fixes the retail pricing of goods and

services sold to franchisees, including Plaintiff 110 Sunport, LLC and similarly situated

franchisees.

        172.     Upon information and belief, HHF knows that Approved Suppliers cannot sell

goods and services to its franchisees at competitive prices.

        173.     Upon information and belief, HHF knows that Approved Suppliers must increase

the cost of goods and services to account for the increased wholesale costs and as well the fixed

and transactional fees that must be paid to HHF.

        174.     Upon information and belief, HHF knows that Approved Suppliers will pass these

increased costs onto franchisees, including Plaintiff 110 Sunport, LLC and similarly situated

franchisees.

        175.     Upon information and belief, franchisees, including Plaintiff 110 Sunport, LLC

and similarly situated franchisees, ultimately are the ones harmed by HHF’s price fixing and

kickback scheme.
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       176.        While HHF purports to give franchisees, including Plaintiff 110 Sunport, LLC

and similarly situated franchisees, the right to, at HHF’s discretion, purchase Mandatory Products

and Services from vendors other than the Approved Suppliers, in practice HHF rarely, if ever,

grants franchisees, including Plaintiff 110 Sunport, LLC and similarly situated franchisees,

permission to do so.

       177.        Essentially, HHF offers franchisees, including Plaintiff 110 Sunport, LLC and

similarly situated franchisees, no meaningful choice in vendors.

       178.        IHG/HHF misrepresents to franchisees, including Plaintiff 110 Sunport, LLC and

similarly situated franchisees, and/or conceals the true nature of its relationship with Approved

Suppliers, in order to lock them into the onerous License Agreements and to create excessive

switching costs.

G.     HHF’s Imposition of Marketing Fees While Engaging in No Marketing

       179.    The License Agreement requires franchisees to pay HHF various fees, for which

HHF promises to provide certain services in return. Among these required fees are marketing fees.

(See License Agreement, §3(B)(1)(b), (d).)

       180.    The License Agreement provides that HHF franchisees shall make monthly fee

payments to HHF for:

               (b)     a “Services Contribution” equal to the percentage of Gross
               Rooms Revenue set forth in paragraph 15 below, to be used by
               Licensor for marketing, reservations, and other related activities
               which, in Licensor’s sole business judgment as to the long-term
               interests of the System, support marketing, reservations and other
               related functions.
               …
               Licensor may, in its sole judgment, upon 30 days’ prior notice,
               increase this Contribution by an amount not to exceed 1% of Gross
               Rooms Revenue and such increase shall be effective for a period
               no longer than 12 months …
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                (d)    all fees … due in connection with mandatory marketing …
                and other systems and programs established by the Licensor, its
                parents, subsidiaries or its affiliated entities relating to the System.

(Id., §3(B)(1)(b), (d).)

        181.    The percentage of Gross Rooms Revenue that Plaintiff 110 Sunport, LLC and

similarly situated franchisees pays to HHF as the Services Contribution referenced in Section 3 of

the License Agreement is 3%. (See id., §15(a)(2).)

        182.    Following the imposition of Covid-19 restrictions in or about March 2020, HHF

ceased all marketing efforts and activities which the franchisees’ “Services Contribution” is

contractually represented as being paid to support, and said HHF marketing is the explicit benefit

of the bargain which franchisees, including Plaintiff 110 Sunport, LLC and similarly situated

franchisees, are entitled to receive in exchange for their payment to IHG/HHF.

        183.    In addition, IHG/HHF made a public statement that Medallia score requirements,

customer and employee experience scores generated from surveys, social media and review

websites, would be waived for the previous year but, nevertheless, sent violations to franchisees

explaining that their scores had dropped too low and threatened to take away licenses.

        184.    HHF has continuously required, demanded payment of and collected marketing

fees from its franchisees, including Plaintiff 110 Sunport, LLC and similarly situated franchisees,

despite providing no marketing services or programs for nearly a year.

H.      IHG Owners Association: IHG/HHF Collusion with the IHGOA & its Illusory
        Provision of Franchisee Participation

        185.    The License Agreement provides for franchisee membership in the IHGOA, and

states in relevant part that:

                The purposes of the IHG Owners Association will be to consider
                and discuss, and make recommendations on common problems
                relating to the operation of System Hotels. Licensor will seek the
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                advice and counsel of the IHG Owners Association’s Board of
                Directors or, subject to the approval of Licensor, such committees,
                directors or officers of the IHG Owners Association to which or
                to whom the IHG Owners Association Board of Directors may
                delegate such responsibilities.

(License Agreement, §6(A).)

        186.    The License Agreement provides further that HHF “recogniz[es] that the IHG

Owners Association must function in a manner consistent with the best interests of all persons

using the System . . . .” (Id., § 6(B).)

        187.    HHF represents to its franchisees, including Plaintiff 110 Sunport, LLC and

similarly situated franchisees, that it makes a good faith effort to protect the best interests of its

franchisees.

        188.    Despite these representations, however, the IHGOA board members are essentially

handpicked by IHG/HHF, and receive incentives in exchange for their loyalty and obedience to

IHG/HHF’s agenda and interests.

        189.    While IHGOA’s board members are nominally elected by all franchise owners, it

is essentially impossible for dissenting voices to gain seats on the board.

        190.    IHG/HHF controls the nominating process through the imposition of onerous and

vague requirements for candidacy, which ensures that IHG/HHF can carefully select candidates

and thus the elections to the IHGOA are noncompetitive.

        191.    The collusion between the IHGOA and IHG/HHF is a fraudulent attempt to create

the appearance of legitimacy to IHG/HHF’s exploitative practices, as detailed herein.

        192.    IHG/HHF scoffs at the stated purposes and functions of the Owners Association as

set forth in the License Agreement, franchisees, including Plaintiff 110 Sunport, LLC and similarly

situated franchisees, only the illusory role of having a voice in the System, or discussing any

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operational recommendations for common problems at the hotels, with IHG/HHF instead acting

in complete disregard for “the best interests of all persons using the System.”

        193.    In short, IHG/HHF pursues only its own self interest to the detriment of its

franchisees, including Plaintiff 110 Sunport, LLC and similarly situated franchisees.

        194.    The “committees, directors or officers of the IHG Owners Association” rarely

include franchisees, but instead are populated by IHG and/or HHF employees in order to collude

with said Defendants, utterly disregard genuine franchisee complaints and to instead implement,

avoid accountability for and rubber stamp all matters decided unilaterally by and for these

Defendants.

I.      IHG/HHF’s Racial Discrimination Against Indian-American & South Asian-
        American Franchisees

        195.    In its relations with its franchises, IHG/HHF is hostile to and routinely

discriminates in favor of white, black and Latino franchisees and against Indian-American and

South Asian-American franchisees, by offering preferential treatment to the former and engaging

in derogatory and demeaning rhetoric and behavior and more strictly enforcing rules and

regulations against the latter.

        196.    IHG/HHF applies PIP enforcement, inspections and fines unjustly and unequally,

with unduly harsh and unequal application against its franchisees of Indian-American and South

Asian-American descent.

        197.    IHG/HHF applies its discretionary brand “standards” unjustly and unequally, with

unduly harsh and unequal application against its franchisees of Indian-American and South Asian-

American descent.

        198.    IHG/HHF applies its discretionary brand “standards” unjustly and unequally, with

online manipulation of guest scores, reviews and ratings against its franchisees of Indian-American
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and South Asian-American descent.

        199.    IHG/HHF terminates franchises more frequently and arbitrarily against its

franchisees of Indian-American and South Asian-American descent, and similarly denies the

granting and transfer of franchises to Indian-Americans and South Asian-Americans.

        200.    IHG/HHF executives often make racially derogatory comments to and about their

Indian-American and South Asian-American franchisees.

                               CLASS ACTION ALLEGATIONS

        201.    Plaintiff 110 Sunport, LLC hereby incorporates paragraphs 1-200 of this Complaint

as if stated fully herein

        202.    Pursuant to Federal Rules of Civil Procedure 23(a) and (b), Plaintiff 110 Sunport,

LLC brings this action on behalf of itself and the Class (“Class”) of similarly situated persons

defined as:

                All United States residents (including persons and business
                entities) that operate or have operated a hotel pursuant to a License
                Agreement with Holiday Hospitality Franchising LLC in the State
                of New Mexico from January 1, 2014 through the date of Class
                Certification. Excluded from the Class are the officers, directors
                and employees of Defendants and their respective legal
                representatives, heirs, successors and assigns.

A.      Rule 23(a) Requirements

        203.    Numerosity: Members of the Class are so numerous that their individual joinder

is impractical. The precise identities, number and addresses of members of the Class are presently

unknown to Plaintiff 110 Sunport, LLC but may and should be known with proper and full

discovery of Defendants, third-parties and all relevant records and documents.

        204.    Upon information and good faith belief, the Class has more than 40 members.


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       205.    All members of the Class assert claims for violation of the law as set forth herein.

       206.    Existence of Common Questions of Fact and Law: There is a well-defined

commonality and community of interest in the questions of fact and law affecting the members of

the Class. Among other things, the common questions of fact and law include:

                a) Whether and to what extent Defendants’ practices, conduct
                   and misrepresentations violate the covenant of good faith and
                   fair dealing;

                b) Whether and to what extent Defendants’ practices, conduct
                   and misrepresentations violate federal or state law;

                c) Whether HHF breached terms of the License Agreements;

                d) Whether and to what extent Defendants maintained a closed
                   market vendor marketplace in order to derive illicit profits;

                e) Whether the Class sustained injury as a result of HHF’s
                   breaches of the License Agreement;

                f) Whether any of the provisions of the subject HHF License
                   Agreements are void and/or unenforceable;

                g) Whether Plaintiff 110 Sunport, LLC and similarly situated
                   franchisees are entitled to recover compensatory,
                   consequential, exemplary, treble, statutory or punitive
                   damages based on Defendants’ fraudulent, illegal,
                   anticompetitive conduct or practices and/or otherwise;

                h) Whether temporary and permanent injunctive relief is
                   appropriate for all Class Members and

                i) Whether Plaintiff 110 Sunport, LLC and similarly situated
                   franchisees are entitled to an award of reasonable attorneys’
                   fees, prejudgment interest and costs of suit.

       207.    Typicality: Plaintiff 110 Sunport, LLC is a member of the Class. Plaintiff 110

Sunport LLC’s claims have a common origin and share common bases with the Class Members.

They originate from the same illegal, fraudulent and confiscatory practices of Defendants, and

Defendants have acted in the same or substantially similar way toward Plaintiff and all other Class
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Members. If brought and prosecuted individually, the claims of each Class Member would

necessarily require proof of the same material and substantive facts, rely upon the same remedial

theories and seek the same or substantially similar relief.

       208.    Adequacy: Plaintiff 110 Sunport LLC is an adequate representative of the Class

because its interests do not conflict with the interests of the members of the Class they seek to

represent. Plaintiff 110 Sunport LLC has retained competent counsel and intends to prosecute this

action vigorously. Plaintiff 110 Sunport LLC’s counsel will fairly and adequately protect the

interests of the members of the Class.

B.     Rule 23(b)(2) & (3) Requirements

       209.    This lawsuit may be maintained as a class action pursuant to Federal Rule of Civil

Procedure 23(b)(2) because Plaintiff 110 Sunport, LLC and similarly situated franchisees, the

Class Members, seek declaratory and injunctive relief, and all of the above requirements of

numerosity, common questions of fact and law, typicality and adequacy are satisfied. Moreover,

Defendants have acted on grounds generally applicable to Plaintiff 110 Sunport, LLC and similarly

situated franchisees, the Class as a whole, thereby making declaratory and/or injunctive relief

proper and suitable remedies.

       210.    This lawsuit may also be maintained as a class action under Federal Rule of Civil

Procedure 23(b)(3) because questions of fact and law common to the Class predominate over the

questions affecting only individual members of the Class, and a class action is superior to other

available means for the fair and efficient adjudication of this dispute. The damages suffered by

each individual class member may be disproportionate to the burden and expense of individual

prosecution of complex and extensive litigation to address Defendants’ conduct and practices.

       211.    Additionally, effective redress for each and every class member against Defendants
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may be limited or even impossible where serial, duplicate or concurrent litigation occurs arising

from these disputes. Even if individual class members could afford or justify the prosecution of

their separate claims, such an approach would compound judicial inefficiencies and could lead to

incongruous and conflicting judgments against Defendants.

                                           COUNT I

                                       Breach of Contract
                                      (Against IHG/HHF)

        212.    Plaintiff 110 Sunport, LLC hereby incorporates paragraphs 1-211 of this Complaint

as if stated fully herein.

        213.    At all times relevant to this litigation, Defendant IHG/HHF possessed individual

contractual relationships with each franchisee, including Plaintiff 110 Sunport, LLC and similarly

situated franchisees, through the License Agreements.

        214.    By virtue of their ownership of IHG/HHF and control over the IHG Marketplace,

IHG and HHF are intended third-party beneficiaries of the License Agreements.

        215.    Beyond the written terms of the License Agreement IHG/HHF owe a duty of good

faith and fair dealing to franchisees, including Plaintiff 110 Sunport, LLC and similarly situated

franchisees, in relation to its performance under the License Agreement and any related

agreements.

        216.    HHF breached its obligations under the License Agreement by, inter alia:

                 a) Without any limitation or stated parameters, to generally and
                    arbitrarily alter, modify or revise its “Standards” or
                    “System,” in its sole judgment, as a bad faith means to
                    impose undisclosed costs and obligations on franchisees,
                    including Plaintiff 110 Sunport, LLC and similarly situated
                    franchisees, without any franchisee input, agreement or
                    recourse;


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    b) Using its PIP program as a means to apply unfettered and
       open-ended discretion to extract otherwise undisclosed fees
       and fees not contracted for from franchisees, including
       Plaintiff 110 Sunport, LLC and similarly situated
       franchisees, by mandating exorbitant construction and
       renovation mandates and costs upon franchisees, including
       Plaintiff 110 Sunport, LLC and similarly situated
       franchisees;

    c) As part of the PIP program, forcing franchisees, including
       Plaintiff 110 Sunport, LLC and similarly situated
       franchisees, to pay non-refundable fees for mandatory hotel
       inspections and preparation of PIP report(s), without any
       franchisee consent or agreement and charging additional
       undisclosed fees for re-inspections and re-evaluations solely
       as HHF deems necessary and mandates, and to arbitrarily
       require such re-inspections and also impose fines solely as a
       means of enriching HHF;

    d) Forcing franchisees, including Plaintiff 110 Sunport, LLC
       and similarly situated franchisees, to utilize only HHF’s
       Approved Suppliers for the goods and services necessary to
       run the hotel(s) because such vendors and suppliers provide
       HHF with rebates and kickbacks;

    e) Falsely representing that the Approved Suppliers in HHF’s
       procurement programs, including, but not limited to, the
       “IHG Marketplace” allow for franchisee choice, and deliver
       value and lower cost purchasing opportunities to franchisees,
       including Plaintiff 110 Sunport, LLC and similarly situated
       franchisees, when, in fact, franchisees, including Plaintiff
       110 Sunport, LLC and similarly situated franchisees, are
       involuntarily forced to use these Approved Suppliers,
       charging franchisees, including Plaintiff 110 Sunport, LLC
       and similarly situated franchisees, above-market rates, rates
       which are higher than the same Approved Suppliers charge
       hotel operators not within the HHF System, and often the
       Mandatory Products and Services forced upon franchisees,
       including Plaintiff 110 Sunport, LLC and similarly situated
       franchisees , are of inferior quality;

    f) HHF represents to franchisees, including Plaintiff 110
       Sunport, LLC and similarly situated franchisees, that its
       limited number of Approved Suppliers is for the purpose of
       obtaining group or volume discounts or to ensure uniform
       quality and supply, when it is instead engaged in a scheme to
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       reduce competition within the HHF Franchise System and
       extract larger kickbacks from these vendors. HHF does not
       obtain group or volume discounts on behalf of its franchisees,
       including Plaintiff 110 Sunport, LLC and similarly situated
       franchisees;

    g) HHF leverages its Franchise System as a means to secure
       massive fees from vendors, granting approval to Approved
       Suppliers who gain access to HHF’s franchisees as a quid pro
       quo for kickbacks in the form of both fixed fees and
       percentage-based transactional fees, enriching HHF from
       increased costs borne by franchisees, including Plaintiff 110
       Sunport, LLC and similarly situated franchisees, for the
       Mandatory Products and Services. HHF never discloses to
       its franchisees, including Plaintiff 110 Sunport, LLC and
       similarly situated franchisees, this inherent and abusive
       conflict of interest from its collusion with manufacturers
       and/or distributors to increase its own revenue on the backs
       of its franchisees, including Plaintiff 110 Sunport, LLC and
       similarly situated franchisees;

    h) Despite the fact that franchisees, including Plaintiff 110
       Sunport, LLC and similarly situated franchisees, pay initial
       and annual fees associated with marketing, HHF introduces
       additional undisclosed marketing (and other) programs and
       fees as a means to generate additional revenue for itself to the
       detriment of franchisees, including Plaintiff 110 Sunport,
       LLC and similarly situated franchisees, and without any prior
       disclosure to or agreement of the franchisees;

    i) HHF ceased and suspended all of its marketing efforts and
       activities during the time of the Covid pandemic, yet
       continues to charge franchisees, including Plaintiff 110
       Sunport, LLC and similarly situated franchisees, for services
       it is not providing;

    j) Use the threat and imposition of retaliation and retribution
       against franchisees, including Plaintiff 110 Sunport, LLC and
       similarly situated franchisees, who in any way dispute or
       raise questions about HHF’s introduction of programs, fees
       or expenses forced on franchisees, including Plaintiff 110
       Sunport, LLC and similarly situated franchisees , without any
       prior disclosure or agreement or against franchisees who,
       when presented with HHF programs falsely represented as
       optional, opt-out of same;

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                k) Using its customer rewards program as a means to allow
                   customers to redeem points earned at point-of-origin
                   franchisee hotels for free hotel stays, depriving the
                   franchisees, including Plaintiff 110 Sunport, LLC and
                   similarly situated franchisees, of this direct revenue, but then
                   reimbursing franchisees, including Plaintiff 110 Sunport,
                   LLC and similarly situated franchisees, only a small
                   percentage of the redeemed points (usually less than 30%)
                   and retaining the remainder for itself and

                l) Maintaining an IHG Owners Association, represented as a
                   means for franchisees, including Plaintiff 110 Sunport, LLC
                   and similarly situated franchisees, to consider and discuss,
                   and make recommendations on common problems relating to
                   the operation of System Hotels which HHF will seek the
                   advice of and to promote the best interests of all persons
                   using the System but, in reality, this representation is false
                   and illusory. Franchisees, including Plaintiff 110 Sunport,
                   LLC and similarly situated franchisees, are afforded no
                   voice, their recommendations are summarily disregarded and
                   the Owners Association is populated almost entirely by IHG
                   employees to serve the purpose of enriching IHG, HHF and
                   SCH, avoiding accountability and imposing additional
                   financial hardship on franchisees, including Plaintiff 110
                   Sunport, LLC and similarly situated franchisees.

       217.    In its performance of the License Agreements, in addition to the misconduct set

forth hereinabove IHG/HHF routinely violate the duty of good faith and fair dealing with

franchisees, including Plaintiff 110 Sunport, LLC and similarly situated franchisees, by, inter alia:

                a) Instead of using the collective bargaining power of its
                   franchisees, including Plaintiff 110 Sunport, LLC and
                   similarly situated franchisees, to negotiate discounted rates
                   on products necessary to the operation of the hotels from
                   Approved Suppliers, allowing – and effectively requiring –
                   the Approved Suppliers to charge rates for Mandatory
                   Products and Services well in excess of the market rate, by
                   requiring the Approved Suppliers to pay large kickbacks
                   (“rebates”) to HHF in order to earn the privilege of doing
                   business with franchisees;

                b) In negotiations with Approved Suppliers, prioritizing the size
                   of the kickback an Approved Supplier is willing to pay HHF
                   over the securing of a group discount or ensuring high quality
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                      of Mandatory Products and Services;

                 c) Forcing franchisees, including Plaintiff 110 Sunport, LLC
                    and similarly situated franchisees, to use a specific credit card
                    processor, which charges higher fees and other chargebacks
                    causing franchisees to lose significant monies;

                 d) Forcing franchisees, including Plaintiff 110 Sunport, LLC
                    and similarly situated franchisees, to purchase other
                    Mandatory Products and Services from Approved Suppliers,
                    when the Mandatory Products and Services provided by
                    certain Approved Suppliers are of low quality and priced
                    above a fair market rate;

                 e) Unfairly and wrongfully penalizing franchisees, including
                    Plaintiff 110 Sunport, LLC and similarly situated
                    franchisees, who “opt out” of allegedly voluntary programs;

                 f) Refusing to negotiate in good faith with franchisees,
                    including Plaintiff 110 Sunport, LLC and similarly situated
                    franchisees, in the wake of the Covid-19 pandemic;

                 g) Otherwise imposing onerous and unnecessary fees, penalties
                    and fines upon franchisees, including Plaintiff 110 Sunport,
                    LLC and similarly situated franchisees and

                 h) Otherwise acting to profit at the expense of the financial
                    health of HHF franchisees, including Plaintiff 110 Sunport,
                    LLC and similarly situated franchisees.

        218.    Due to IHG/HHF’s ongoing breaches of their express and implied contractual

duties, franchisees, including Plaintiff 110 Sunport, LLC and similarly situated franchisees, have

suffered monetary damages.

                                             COUNT II

        Violations of New Mexico Unfair Prctices Act, NMSA 1978 §§ 57-12-1, et seq.
                                  (Against IHG/HHF)

        219.    Plaintiff 110 Sunport, LLC hereby incorporates paragraphs 1-218 of this Complaint

as if stated fully herein.

        220.    The purpose of the New Mexico Unfair Practices Act, §§ 57-12-1, et seq., is to

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protect to provide a remedy for unfair, deceptive, or unconscionable trade practices.

       221.    Plaintiff 110 Sunport, LLC and similarly situated franchisees are persons as defined

by NMSA 1978, § 57-12-2(A).

       222.    Plaintiff 110 Sunport, LLC and similarly situated franchisees are, by the terms of

their License Agreement, required to perform business within the State of New Mexico.

       223.    Under the New Mexico Unfair Practices Act, NMSA 1978, § 57-12-3, “[u]nfair or

deceptive trade practices and unconscionable trade practices in the conduct of any trade or

commerce are unlawful.”

       224.    In the regular course of its business, IHG/HHF knowingingly has made oral or

written statements or other representations that are false and/or misleading in connection with the

sale of the license pursuant to the licensee agreement.

       225.    The false and/or misleading statements or representations by IHG/HHF are of the

type that tends to, and in fact does, deceive or mislead any person.

       226.    IHG/HHF has engaged in unfair or deceptive trade practices by, inter alia:

               a)      causing confusion or misunderstanding as to the source,
                       sponsorship, approval, or certification of goods or services
                       by its requirement that Plaintiff 110 Sunport, LLC and
                       similarly situated franchisees to pay above-market prices
                       for necessary products from Qualified Vendors;

               b)      representing that goods or services have characteristics
                       that they do not have by its requirement that Plaintiff 110
                       Sunport, LLC and similarly situated franchisees purchase
                       necessary products fromqualified vendors that are inferior
                       in quality to similar products offered by their competitors;

               c)      making false or misleadings statements concerning the
                       price of goods or services by its requirement that Plaintiff
                       110 Sunport, LLC and similarly situated franchisees pay
                       undisclosed fees and penalties to IHG/HHF, such that the
                       total fees and penalties paid by each individual franchisee,
                       including Plaintiff 110 Sunport, LLC and similarly
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                       situated franchisees, could approach, equal or even exceed
                       20% of monthly revenue;

               d)      stating that a transcation involves rights, remedies, or
                       obligations that it does not by adding onerous rules to
                       HHF’s Rules and Regulations which bind Plaintiff 110
                       Sunport, LLC and similarly situated franchisees;

               e)      causing confusion or misunderstanding as to affiliation,
                       connection or association with another by forcing Plaintiff
                       110 Sunport, LLC and similarly situated franchisees to pay
                       an “association fee” to IHGOA while actively working to
                       undermine the efficacy of IHGOA as a purported
                       representative of franchisees’ interests and

               f)      using exaggeration, innuendo, or ambiguity as to a
                       material fact when doing so deceives or tends to deceive,
                       thereby imposing monetary penalties against Plaintiff 110
                       Sunport, LLC and similarly situated franchisees for
                       IHG/HHF’s own mismanagement—for example,
                       assessing penalties against franchisees, including Plaintiff
                       110 Sunport, LLC and similarly situated franchisees, for
                       guests’ negative reviews of their hospitality experience,
                       when those negative reviews stem from failures related
                       IHG/HHF’s reservation system.

       227.    The licensing agreement is substantively and procedurally unconscionable.

       228.    IHG/HHF has engaged in unconscionable trade practices that take advantage of the

lack of knowledge, ability, experience, or capacity of Plaintiff 110 Sunport, LLC and similarly

situated franchises to a grossly unfair degree.

       229.    As a direct and proximate result of IHG/HHf’s actions, Plaintiff 110 Sunport, LLC

and similarly situated franchisees have suffered actual damages in an amount to be determined at

trial. Plaintiff 110 Sunport, LLC seeks an award of damages for three times the amount of actual

damages suffered and respectfully request injunctive relief restraining IHG/HHF from continuing

to perform acts in violation of the New Mexico Unfair Practices Act. Similarly situated franchisees

seek an award of damages for the amount of actual damages suffered and respectfull request

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injunctive relief restraining IHG/HHF from continuing to perform acts in violation of the New

Mexico Unfair Practices Act. Plaintiff 110 Sunport, LLC and similarly situated franchisees also

seek recovery of their attorney fees and costs.

                                             COUNT III

                                       Declaratory Judgment
                                        (Against IHG/HHF)

        230.    Plaintiff 110 Sunport, LLC hereby incorporates paragraphs 1-229 of this Complaint

as if stated fully herein.

        231.    As a condition of receiving the benefits of operating a IHG/HHF franchise,

IHG/HHF uses its vastly superior bargaining power to require all franchisees, including Plaintiff,

to accept the grossly unequal terms of the License Agreements, which, as to many key provisions,

is essentially a “take it or leave it” contract of adhesion.

        232.    The following provisions of the License Agreement (hereafter “the Unconscionable

Provisions”) together and/or individually are substantively unconscionable:

                 a) HHF’s open-ended right to impose mandates, fees and costs
                    on franchisees, including Plaintiff 110 Sunport, LLC and
                    similarly situated franchisees , by adding, modifying, altering
                    or deleting elements of its System or its Standards in its sole
                    judgment and discretion, which extends to (but is not limited
                    to): marketing programs and materials; specifications and
                    policies for construction; programs for inspecting the Hotel;
                    and vague, arbitrary and amorphous “other requirements as
                    stated or referred to in this License and from time to time in
                    Licensor’s brand standards for System Hotels” (defined as
                    the “Standards”). (License Agreement, §1);

                 b) HHF’s open-ended imposition upon Plaintiff as one of its
                    responsibilities to “strictly comply in all respects with the
                    Standards (as they may from time to time be modified or
                    revised by [HHF]” which does no less than attempt to allow
                    HHF to impose upon Plaintiff 110 Sunport, LLC and
                    similarly situated franchisees , and demand compliance with

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       whatever it deems beyond any explicit contractual
       agreement. (Id., §3(A)(5));

    c) HHF’s mandate that Plaintiff 110 Sunport, LLC and similarly
       situated franchisees ,strictly comply with its “standards and
       specifications for goods and services used in the operation of
       the Hotel and other reasonable requirements to protect the
       System and the Hotel from unreliable sources of supply,” and
       with all HHF’s requirements for services and products used
       in Hotels, which serves as a pretext for HHF’s collusion and
       kickback scheme with vendors and suppliers. (Id., §3(A)(7));

    d) HHF’s unlimited ability to maintain and alter its “Standards”
       imposed upon and required of franchisees, including Plaintiff
       110 Sunport, LLC and similarly situated franchisees , with
       “wide latitude,” and to modify or revise same at any time in
       its sole discretion and without franchisee knowledge or
       agreement. (Id., §4(D)-(E));

    e) HHF’s illusory provision of a means by which franchisees,
       including Plaintiff 110 Sunport, LLC and similarly situated
       franchisees , can approve its changes in the Standards only
       through HHF’s Franchise Committee, and by purporting to
       afford franchisees, including Plaintiff 110 Sunport, LLC and
       similarly situated franchisees, a means to appeal such
       changes while at the same time severely restricting any
       appeal rights which cannot be “arbitrary, capricious or
       unreasonable” or not “for the purpose for which intended”
       vis-à-vis not only HHF changes in standards but also as to
       any other rights explicitly afforded by the agreement. (Id.,
       §5(A)-(D));

    f) HHF’s right to termination of the agreement for any violation
       thereof, when HHF has given itself the right to extra-
       contractually alter, modify or revise Plaintiffs’ and the Class
       Members’ obligations at any time and for any reason it may
       deem. (Id., §§1(B), 12(B)-(C));

    g) HHF’s right to termination if Plaintiff and/or the Class
       Members “refuse[] to cooperate with” inspections or audits
       when, in fact, HHF charges Plaintiff 110 Sunport, LLC and
       similarly situated franchisees for all inspections and can
       impose them for any reason at any time as a means to impose
       costs and fines on Plaintiff 110 Sunport, LLC and similarly
       situated franchisees merely as a tool to enrich itself. (Id.,
       §12(C)(13));
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                 h) A provision providing for liquidated damages against
                    franchisees, including Plaintiff 110 Sunport, LLC and
                    similarly situated franchisees, in the event of a franchisee’s
                    early termination of the License Agreement or HHF’s
                    termination of the License Agreement due to a franchisee’s
                    alleged breach, but not providing for liquidated damages
                    against HHF under any circumstances. (Id., §12(E));

                 i) Provisions prohibiting franchisees,’ including Plaintiff’s and
                    the Class Members,’ rights to pursue claims and damages
                    against HHF for HHF’s breaches of the parties’ license
                    agreement. (Id., §§14(B)(3), 14(E), 14(H));

                 j) A requirement that franchisees, including Plaintiff 110
                    Sunport, LLC and similarly situated franchisees , broadly
                    reimburse HHF, its affiliates, subsidiaries, officers, directors,
                    agents, partners and employees, for any litigation regardless
                    of which party initiates same. (Id., §§14(J)) and

                 k) A provision requiring affirmative advisement of any trier of
                    fact that HHF has rights to make changes to the parties’
                    agreement “in the exercise of business judgment” and in
                    every such instance those rights which are not explicitly
                    contracted for are “adopted in good faith and is consistent
                    with the long-term overall interests of the System,” and
                    further prohibits any and all judges, mediators, and/or triers
                    of fact from applying their own judgment as opposed to
                    HHF’s. (Id., §14(N)).

         233.   The License Agreements are procedurally unconscionable because, at the inception

of the License Agreements, IHG/HHF used its vastly superior bargaining position to require

franchisees, including Plaintiff, to accept the grossly unequal Unconscionable Terms outlined

above.

         234.   Specifically, as to the Unconscionable Terms, the License Agreements are

contracts of adhesion provided on a “take it or leave it” basis.

         235.   The Unconscionable Terms are not subject to negotiation.

         236.   IHG/HHF drafts the Agreements in their entirety.

         237.   An actual, present, and justiciable controversy exists between Plaintiff and
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IHG/HHF regarding the enforceability of the Unconscionable Provisions.

        238.    Pursuant to the Uniform Declaratory Judgment Act, 28 U.S.C. § 2201, Plaintiff

seek declaratory judgment from this Court that the Unconscionable Provisions listed above are

unconscionable, illusory and/or unenforceable.

                                           COUNT IV

                        Violation of the Sherman Act, 15 U.S.C. § 1
                 and New Mexico Antitrust Act, NMSA 1978, §§ 57-1-1, et seq.
                                    (Against IHG/HHF)

        239.    Plaintiff 110 Sunport, LLC hereby incorporates paragraphs 1-238 of this Complaint

as if stated fully herein.

        240.    There exists markets for ownership interests in hospitality franchises, in which

IHG/HHF maintains substantial market power.

        241.    A separate market exists for the related goods and services associated with the

operations of hospitality franchises, including but not limited to services, software, physical

furnishings, financial services, and food products (the “Mandatory Products and Services”).

        242.    IHG/HHF requires that franchisees purchase some or all of the Mandatory Products

and Services from vendors of its own choosing (the “Approved Suppliers”).

        243.    In order to obtain IHG/HHF’s approval to sell Mandatory Products and Services to

franchisees, IHG/HHF requires Approved Suppliers to pay substantial kickbacks to IHG/HHF,

which it refers to euphemistically as “rebates.”

        244.    Although IHG/HHF represents to franchisees, including Plaintiff, that, in limiting

the number of Approved Suppliers from which franchisees, including Plaintiff, may purchase

Mandatory Products and Services, it seeks only to obtain group discounts for franchises and/or

ensure consistent quality and adequate supplies for the franchise brand, in reality IHG/HHF
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chooses Approved Suppliers exclusively or primarily based upon how large a kickback those

Approved Suppliers are willing to pay IHG/HHF.

       245.    In actuality, the Mandatory Products and Services purchased from Approved

Suppliers are often of inferior quality and sold at above-market prices, relative to similar products

sold by other vendors.

       246.    While IHG/HHF does purport to give franchisees, including Plaintiff, the right to,

at HHF’s discretion, purchase Mandatory Products and Services from vendors other than the

Approved Suppliers, in practice IHG/HHF rarely, if ever, grants franchisees permission to do so.

       247.    At the time they entered into the License Agreements, IHG/HHF concealed the

nature of its relationship with Approved Supplier from franchisees, including Plaintiff, in order to

lock them into the onerous Agreements and create excessive switching costs.

       248.    IHG/HHF also creates excessive switching costs through imposing onerous

termination terms on franchisees, including Plaintiff, such that upon termination or expiration of

the License Agreement, they may be liable to pay (i) liquidated damages and (ii) all outstanding

fees and penalties in full, which, by virtue of IHG/HHF’s right under the License Agreements to

unilaterally impose additional fees and penalties, may be sufficient to prevent franchisees from

exercising their termination rights, locking them into the franchise system.

       249.    At all times relevant, IHG/HHF had monopoly power, market power and/or

economic power in the relevant Hospitality Franchise market, sufficient to force franchisees,

including Plaintiff 110 Sunport, LLC and similarly situated franchisees, to purchase and to accept

Mandatory Products and Services from Approved Suppliers.

       250.    By reason of the terms of the License Agreements and the investments franchisees,

including Plaintiff, have made in their franchises, coupled with the difficulties franchisees face in

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leaving the franchise system, IHG/HHF has substantial power in the market for both Hospitality

Franchises and the market for Mandatory Products and Services.

       251.    IHG/HHF manipulated its economic power in the Hospitality Franchise market to

coerce franchisees, including Plaintiff, to purchase Mandatory Products and Services solely from

Approved Suppliers, through contractual provisions contained in the License Agreements, as well

as exploitation of pre-contractual information deficiencies and post-contractual switching costs.

       252.    Through these and other means, IHG/HHF can and does coerce franchisees,

including Plaintiff 110 Sunport, LLC and similarly situated franchisees, to purchase nearly of the

Mandatory Products and Services from Approved Suppliers.

       253.    Through the exercise of IHG/HHF’s economic power as alleged herein, IHG/HHF

has conditioned the purchase by franchisees, including Plaintiff, of their franchises and their

continued existence as franchises upon the purchase of Mandatory Products and Services from

Approved Suppliers.

       254.    As a direct and proximate result of IHG/HHF’s anti-competitive tying activity,

franchisees, including Plaintiff, have been injured by being forced to pay above-market rates for

inferior Mandatory Products and Services.

       255.    A substantial amount of interstate commerce in Mandatory Products and Services

has been adversely affected by IHG/HHF’s actions.

       256.    These actions impose an unreasonably negative effect on competition in the

marketplace, because IHG/HHF’s policy of coercing and conditioning the purchase and operation

of a franchise and on purchase by franchisees of Mandatory Products and Services from Approved

Suppliers forecloses the ability of vendors unwilling to pay kickbacks to IHG/HHF from selling

their Mandatory Products and Services to franchisees, including Plaintiff, even though the quality

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of such Mandatory Products and Services is equal to if not better than the quality of what is

supplied by Approved Suppliers.

        257.    HHF’s tie of purchases of its franchises, including Plaintiff, to purchase of

Mandatory Products and Services from Approved Suppliers imposes an unreasonable restraint

upon commerce and is therefore per se unlawful in violation of Section One of the Sherman Act,

15 U.S.C. § 1, and has caused damage to franchisees, including Plaintiff.

        258.    Alternatively, if IHG/HHF’s tying conduct is not per se unlawful, it is unlawful

under the rule of reason, in that the anti-competitive consequences of IHG/HHF’s conduct

outweigh any pro-competitive effects thereof. Not only does HHF’s conduct impose supra-

competitive prices on franchisees, including Plaintiff, it impedes the ability of other vendors to

engage in competition with Approved Suppliers to provide high quality Mandatory Products and

Services at lower costs.

        259.    Moreover, consumers are injured in that they are forced to indirectly pay the

kickbacks and excessive prices for products charged to franchises by Approved Suppliers.

        260.    There is no pro-business or efficiency justification for the kickbacks and supra-

competitive pricing, nor does any legitimate business purpose require these practices.

                                           COUNT V

                                          Accounting
                                      (Against IHG/HHF)

        261.    Plaintiff 110 Sunport, LLC hereby incorporates paragraphs 1-260 of this Complaint

as if stated fully herein.

        262.    IHG/HHF owed franchisees, including Plaintiff, express contractual duties not to

charge fees which were not contractually proscribed but nevertheless charges direct and indirect

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fees to Plaintiff which were not authorized by the License Agreements.

       263.   IHG/HHF owes a duty to account for monies, including, but not limited to:

               a) An accounting of the rebates it has taken from Approved
                  Suppliers;

               b) An accounting of all charges associated with the PIP program
                  and all fees charged for Hotel inspections, re-inspections,
                  evaluations, preparation of PIP reports and any and all fines;

               c) An accounting of all awards, redemptions, amounts
                  reimbursed to any franchisee, including Plaintiff 110
                  Sunport, LLC and similarly situated franchisees, to HHF,
                  SCH and IHG associated with the IHG Rewards Club Hotel
                  Rewards Program;

               d) An accounting of any and all IHG Marketplace programs;

               e) An accounting of the Secure Payment Solution credit card
                  processing system;

               f) An accounting of all internet services and the SCH Merlin
                  communication service;

               g) An accounting of HHF’s Keycard System;

               h) An accounting of all in-room entertainment, SCH Studio,
                  Employee Safety Devices, reservation and all other
                  equipment, software, and services for property-level
                  technology and telecommunications;

               i) An accounting of the gift card program;

               j) An accounting of all mandated food and beverage programs;

               k) An accounting of all furniture, furnishings, linens, food
                  products, utensils and goods for guests and

               l) An accounting of its use of all other fees and penalties
                  imposed upon franchisees, including Plaintiff 110 Sunport,
                  LLC and similarly situated franchisees .

         264. Upon information and good faith belief, a request for such an accounting from

  IHG/HHF would be futile.

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            265. Plaintiff 110 Sunport, LLC and similarly situated franchisees, are unable to

  determine the amounts due to them without an accounting and there is no adequate remedy at

  law without such an accounting or such legal remedies would be difficult, inadequate or

  incomplete.

                                      PRAYER FOR RELIEF

       WHEREFORE, Plaintiff 110 SUNPORT LLC, on behalf of itself and all those similarly

situated, respectfully requests that this Honorable Court:

       A.       Enter an order certifying this case as a class action on behalf of
                the Class defined herein;

       B.       Enter an order against HHF and IHG in favor of Plaintiff for
                consequential and/or compensatory damages in an amount to be
                proven at trial and specific performance of the License
                Agreements;

       C.       Enter an order against HHF and IHG in favor of Plaintiff for actual
                damages and treble damages and reasonable attorney’s fees
                arising out of IHG/HHF’s violations of the Sherman Act;

       D.       Enter a permanent injunction prohibiting IHG/HHF’s unlawful
                tying conduct;

       E.       Declare that the provisions of the Agreements, as specified above,
                are unconscionable, illusory and/or unenforceable against
                Plaintiff;

       F.       Enter an order against IHG/HHF in favor of Plaintiff entitling
                Plaintiff to an accounting of all fees paid by them to IHG and
                HHF, and all rebate payments made to HHF and IHG by Approved
                Suppliers and

       G.       Award such other relief as this Court deems necessary and
                appropriate.

                                          JURY DEMAND

                   Plaintiff demands a trial by jury on all issues properly so tried.


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Dated: August 26, 2021

                                           Respectfully submitted,
                                           EGOLF + FERLIC +
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